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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ABC Corporation I et al,

                       Plaintiff,                CASE NO. 1:20-cv-04806

        v.                                       Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


             DEFENDANT AND THIRD-PARTY RESPONDENTS’S MOTION
                  TO STRIKE DECLARATION OF PAUL HATCH

       Come now, Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and Third-Party

Respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively,

“Third-Party Respondents”) respectfully move the Court for an Order striking declaration of Paul

Hatch regarding Hangzhou Chic Intelligent Technology Co., Ltd. (“Chic”) and Unicorn Global,

Inc.’s (“Unicorn”, and collectively with Chic, “Plaintiffs”) memorandum in opposition to

Defendant and Third-Party Respondents’ motion for summary judgment of non-infringement. See

Dkt. 670.

       In support of this Motion, Defendant and Third-Party Respondents herewith submit a

Memorandum of Law.




 Date: 10/12/2023                               /s/ Na Zhang
                                                Na Zhang, Esq
                                                GLACIER LAW LLP
                                                506 Second Ave., Ste 1516
                                                Seattle, WA 98104
                                                queena.zhang@glacier.law
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                                       206-397-8633

                                       GLACIER LAW LLP
                                       41 Madison Avenue, Ste 2529
                                       New York, NY 10010
                                       Wei Wang, Esq.
                                       wei.wang@glacier.law
                                       332-777-7315

                                       GLACIER LAW LLP
                                       Yu-Hao Yao, Esq.
                                       910 S Lake Ave, Suite 910
                                       Pasadena, CA 91101
                                       mickey.yao@glacier.law
                                       312-448-7772

                                       GLACIER LAW LLP
                                       200 E. Randolph Dr., Ste. 5100
                                       Chicago, IL 60601
                                       Ruoting Men, Esq.
                                       ruoting.men@glacier.law
                                       Tianyu Ju, Esq.
                                       iris.ju@glacier.law
                                       312-270-0413


                                       Attorneys for Defendant and Third-Party
                                       Respondents
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this October 12, 2023, I electronically filed the foregoing file with

the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of record

and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: 10/12/2023                                 /s/ Na Zhang
